204 F.3d 719 (7th Cir. 2000)
    Empress Casino Joliet Corporation,    Petitioner/Cross-Respondent,v.National Labor Relations Board,    Respondent/Cross-Petitioner,andAmerican Maritime Officers,    Intervenor-Respondent.
    Nos. 99-1990 &amp; 99-2440
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued November 10, 1999Decided February 24, 2000
    
      Petition for Review and Cross-Application  for Enforcement of an Order  of the National Labor Relations Board Before Posner, Chief Judge, and Rovner and  Diane P. Wood, Circuit Judges.
      Posner, Chief Judge.
    
    
      1
      We are asked to  review a decision by the Labor Board  which holds rather surprisingly that none  of the captains, first mates, or chief  engineers of riverboat gambling casinos  is a supervisor within the meaning of the  National Labor Relations Act, 29 U.S.C.  sec. 152(11); NLRB v. Health Care &amp;  Retirement Corp. of America, 511 U.S. 571  (1994), and all therefore are entitled to  bargain collectively with their employer,  the Empress Casino Joliet Corporation.  The decision was rendered by a regional  director of the Board and affirmed by the  Board without any discussion of the  issues. 327 N.L.R.B. No. 203 (March 31,  1999).
    
    
      2
      The two riverboats in question are  large, expensive ships, valued at $60 and  $80 million respectively. The smaller one  carries 1000 passengers and the larger  1300. Each boat sails eight times a day  for an hour at a time, cruising the Des  Plaines River for a mile out and back  from Joliet, Illinois. The crew consists  of a captain, first mate, chief engineer,  and 7 to 10 deckhands (including an  oiler). A number of other employees also  work on the boats (cooks, bartenders,  waiters, croupiers, security personnel,  and so forth), with the result that there  is a total of about 150 to 200 employees  of Empress on each boat when it is  sailing. Yet according to the Labor Board  the only supervisor of the employees on  the boats (including the officers) is the  head of Empress's Marine Operations  department, a shore-based gentleman named  Gehrke. Although the boats are manned 24  hours a day, seven days a week, and do  not sail only during business hours,  Gehrke works a normal business day,  though he does carry a beeper when he's  not in his office.
    
    
      3
      In this age of instantaneous  communication, not all supervisors need  be present every minute in the workplace  that they are supervising. Children's  Habilitation Center, Inc. v. NLRB, 887  F.2d 130, 133 (7th Cir. 1989); VIP Health  Services, Inc. v. NLRB, 164 F.3d 644,  649-50 (D.C. Cir. 1999); Beverly  Enterprises v. NLRB, 148 F.3d 1042, 1048  (8th Cir. 1998). Yet the Board's ruling  has the curious implication that a ship  with more than 1000 people aboard it (the  larger of the two ships has 1500 when the  Empress employees on board are included)  has no supervisor on board at any time,  making the situation, in the Board's  view, a little like that of the Patna in  Conrad's novel Lord Jim after the crew  abandoned it. We grant that the idea of a  completely unsupervised vessel is,  although implausible, Spentonbush/Red  Star Cos. v. NLRB, 106 F.3d 484, 487-92  (2d Cir. 1997); cf. American Diversified  Foods, Inc. v. NLRB, 640 F.2d 893, 896  (7th Cir. 1981); Glenmark Associates,  Inc. v. NLRB, 147 F.3d 333, 341-42 (4th  Cir. 1998); Grancare, Inc. v. NLRB, 137  F.3d 372, 376 (6th Cir. 1998), not  completely preposterous. Airline pilots  are allowed to bargain collectively,  albeit normally under a different  statute, the Railway Labor Act, with a  more inclusive right to bargain, one that  extends to "subordinate official[s]." 45  U.S.C. sec. 181; Dorsey v. United Parcel  Service, 195 F.3d 814, 817 (6th Cir.  1999). But the statutory difference to  one side, most aircraft have very small  crews, which has been critical in the few  cases in which the National Labor  Relations Act has been applied to pilots,  see, e.g., McDonnell Douglas Corp. v.  NLRB, 655 F.2d 932, 936-37 (9th Cir.  1981); Mourning v. NLRB, 559 F.2d 768,  770-71 (D.C. Cir. 1977) (per curiam), and  supervisory status is relative to  employees rather than customers. But  Empress's captains and first mates, at  least, have significant supervisory  responsibilities, involving hiring and  discipline, see Mon River Towing, Inc. v.  NLRB, 421 F.2d 1, 5-6 (3d Cir. 1969);  Local 28, International Organization of  Masters, Etc. v. NLRB, 321 F.2d 376 (D.C.  Cir. 1963), that have no counterpart, so  far as we know, in the case of airplane  pilots. It is true that any  recommendation the officers make, whether  to hire or fire, has to be approved by  Gehrke, but the record indicates that  their recommendations carry a great deal  of weight.
    
    
      4
      Some of the regional director's  findings, such as that the captains  conducted no interviews of job applicants  after 1995, are flat wrong, and others  are incomprehensible, such as classifying  some post-1995 interviews of applicants  as "meetings" without indicating the  difference between meeting and  interviewing an applicant. He laid great  and mistaken emphasis on the fact that  the officers don't have the final say in  hiring or firing. This is true of most  supervisors; a decision to hire or fire  is often reviewed by several layers of  management. What is critical is the  weight of the first-line supervisor's  recommendation in the final decision, and  on this the regional director's opinion  is completely unsatisfactory because of  his unexplained failure to consider the  company's current practices. He found,  for example, that all job interviews "are  conducted by the Port Captains, Port  Engineers, or Marine Operations Manager,"  yet he also (and correctly) found that  the positions of Port Captain and Port  Engineer had been abolished. Gehrke's  uncontradicted testimony was that the  captains and first mates interviewed job  applicants and that he relied heavily on  their recommendations, and no more was  necessary to show that those officers are  supervisors, for the statutory term  embraces not only individuals who have  the authority to hire but also those who  have the authority "effectively to  recommend such action." 29 U.S.C. sec.  152(11); see NLRB v. Winnebago Television  Corp., 75 F.3d 1208, 1216 (7th Cir.  1996); NLRB v. Res-Care, Inc., 705 F.2d  1461, 1467 (7th Cir. 1983); NLRB v.  Attleboro Associates, Ltd., 176 F.3d 154,  164 (3d Cir. 1999); Glenmark Associates,  Inc. v. NLRB, supra, 147 F.3d at 342;  Caremore, Inc. v. NLRB, 129 F.3d 365,  369-70 (6th Cir. 1997). The contrary  conclusion in Cooper/T. Smith, Inc. v.  NLRB, 177 F.3d 1259, 1264 (11th Cir.  1999), cannot be squared with the  statute; the court there approved the  Board's view, which flies in the face of  the statute, that since "the ultimate  decision on personnel matters rested with  . . . [higher management], the [docking]  pilots' advice on personnel matters did  not meet the requirements of the  statute," even though management "never  made a personnel decision against the  recommendations of the docking pilots."  Id. (emphasis added).
    
    
      5
      Another disturbing feature of the  regional director's decision (and the  Board's silent affirmance) is the failure  to consider the significance of the very  low ratio of supervisors to  nonsupervisory employees that the  decision produced: one supervisor for  hundreds of employees. The ratio of  supervisors to supervised is a factor  much emphasized in the cases, NLRB. v.  GranCare, Inc., 170 F.3d 662, 667 (7th  Cir. 1999) (en banc); Children's  Habilitation Center, Inc. v. NLRB, supra,  887 F.2d at 132; NLRB v. Hilliard  Development Corp., 187 F.3d 133, 148 (1st  Cir. 1999); Beverly Enterprises v. NLRB,  supra, 148 F.3d at 1047-48; but see NLRB  v. Attleboro Associates, Ltd., supra, 176  F.3d at 163 n. 5, and rightly so when we  consider the purpose of exempting  supervisors from the right to bargain  collectively. (It is always helpful in  interpreting a statute to consider its  purpose.) A business cannot operate  efficiently unless the employer has a  team of employees he controls to whom he  can delegate the essential supervisory  functions that he cannot exercise  personally. E.g., Beasley v. Food Fair of  North Carolina, Inc., 416 U.S. 653, 659-  62 (1974); Florida Power &amp; Light Co. v.  International Brotherhood of Electrical  Workers, Local 641, 417 U.S. 790, 809-11  (1974); Children's Habilitation Center,  Inc. v. NLRB, supra, 887 F.2d at 131-32;  NLRB v. Res-Care, Inc., supra, 705 F.2d  at 1465; NLRB v. Hilliard Development  Corp., supra, 187 F.3d at 148; Health  Care &amp; Retirement Corp. of America v.  NLRB, 987 F.2d 1256, 1259 (6th Cir.  1993), aff'd, 511 U.S. 571 (1994);  Schnuck Markets, Inc. v. NLRB, 961 F.2d  700, 703 n. 7 (8th Cir. 1992). For our  purposes the employer is Gehrke, and the  issue is whether he can manage these two  boats, which are manned around the clock,  from his shoreside office that he  occupies during the normal workday,  without any help from other employees who  owe their undivided loyalty to the  company. If he cannot, and all the  officers are allowed to unionize, then  the union rather than the company will  control the riverboat casino operation;  yet the National Labor Relations Act,  precisely by excluding supervisors from  its protections, rejects a syndicalist  (that is, worker-controlled) conception  of business. NLRB v. Res-Care, Inc.,  supra, 705 F.2d at 1465.
    
    
      6
      The evidence of significant delegation  of supervisory functions such as hiring  and discipline to the officers,  especially the captains and first mates,  is evidence that Gerhke cannot manage the  riverboat casino operation all by  himself. His most obvious incapacity--his  practical inability to intervene in the  event of an emergency on one of the boats  when it is sailing up or down the river--  is actually the least important. The  cases distinguish between supervision and  the exercise of professional judgment,  NLRB v. Health Care &amp; Retirement Corp. of  America, 511 U.S. 571, 583 (1994); NLRB  v. GranCare, Inc., supra, 170 F.3d at  666-67; Children's Habilitation Center,  Inc. v. NLRB, supra, 887 F.2d at 134;  Glenmark Associates, Inc. v. NLRB, supra,  147 F.3d at 340; NLRB v. Adco Electric  Inc., 6 F.3d 1110, 1117 (5th Cir. 1993),  even though the latter often has an  irreducible supervisory component. When a  ship's captain orders the helmsman to  steer the ship to starboard in order to  avoid an iceberg, he is exercising  professional judgment rather than  shouldering one of the supervisory  responsibilities of the shipowner's  managers. But when he disciplines the  helmsman in the name of the company for  refusing to obey his order, he is acting  as a statutory supervisor. The captains  and first mates of the Empress's riverboats exercise statutory supervisory  responsibilities too, in particular  responsibility for personnel decisions,  as well as merely keeping the boats  afloat, on course, and safe. They play a  big role not only in hiring and firing  but also in evaluating employees for  salary hikes, assigning and directing  work, scheduling overtime, and training  new employees. These are conventional  supervisory functions. The officers are  referred to in the company's employment  manuals as supervisors, and it is not  contended that this is a ruse or puffing.  Compare International Longshoremen's  Ass'n v. Davis, 476 U.S. 380, 396 n. 13  (1986); J.L.M., Inc. v. NLRB, 31 F.3d 79,  82 (2d Cir. 1994); NLRB v. Adco Electric  Inc., supra, 6 F.3d at 1117.
    
    
      7
      The evidence for the supervisory status  of the captains and chief mates is  conclusive; the status of the chief engi  neers is less clear, but as the regional  director's opinion does not trace a  rational connection between the facts  bearing on the responsibilities of the  chief engineers and the conclusion that  they are not supervisors, the Board's  order must be set aside with respect to  them also and the case remanded to the  Board. E.g., International Union of  Operating Engineers, Local 150 v. NLRB,  755 F.2d 78, 81 (7th Cir. 1985); NLRB v.  Beverly Enterprises-Massachusetts, Inc.,  174 F.3d 13, 23 (1st Cir. 1999).
    
    
      8
      The petition for review of the Board's  order is therefore granted and  enforcement of its order denied.
    
    